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PIMA MIC licim Comte tiv Celt mer-(1-m

William Charles Bevan Jr.

Debtor 1

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Maryland

Case number _ 22-12609 [check if this is an
IEenown) amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Ean Summarize Your Assets

Your assets
Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
: $980,420.00
1a. Copy line 55, Total real estate, from Schedule A/B ee

1b, Copy line 62, Total personal property, from SCHEdUIC A/B........ccccccccssssesesessesesesescscsceuesesesesesesesescavaveneuesesenseeuenessneneaeacees $54,559.86

1c. Copy line'63, Total of all'property'on Schedule AVB sx. ccssccceccosssssanecensesseay sucsessevegesctesgcascentoescascoseceecesnceessoocconsesuesesesenasts

Gr Summarize Your Liabilities

$ 1,034,979.86

Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............. $424,208.94 _

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e Of Schedule E/F ...........cccccseeseseeeseeeteesenenees

30.00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F..........cccccccsceseeseseeseseseeees

+ $49,609.42

Your total liabilities $473,818.36
Summarize Your Income and Expenses
4. Schedule |: Your Income (Official Form 106!) 2 535.00
Copy your combined monthly income from line 12 Of SCHEGUIE | .........cceeeseseetenetenetetsesesesenenenenseneaseeaeneneeseeneretesneneneneeees 2
5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22¢ Of SCHEGUIC I .......ccccccseseeseteneeseteteeseenecaeeeeeseeecnenseenecsetecsenecseerseeseeeseseseananets $ 3,768.00

WO

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of

Debtor 1

ia Answer These Questions for Administrative and Statistical Records

Case 22-12609 Doci9 Filed 06/14/22 Page 2 of 38

William Bevan Jr.

First Name Middle Name Last Name

Case number (if known)

22-12609

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

() No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,

() Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

From Part 4 on Schedule E/F, copy the following:

9a.

9b.

9c.

9d.

9e.

of.

9g.

Official Form 106Sum

Domestic support obligations (Copy line 6a.)

Taxes and certain other debts you owe the government. (Copy line 6b.)

Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

Student loans. (Copy line 6f.)

Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.)

Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)

Total. Add lines 9a through Of.

0.00

Total claim
4 0.00
; 0.00
$ 0.00
0.00
2 0.00
+s 0.00
$ 0.00

Summary of Your Assets and Liabilities and Certain Statistical Information

page 2 of 2
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SMU Meer COM ena elem Ce Ue CM Ii: 8

William Charles Bevan Jr.

Debtor 1

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of

Maryland

O check if this is
Case number 22.12609 an amended
(if know)

filing

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Car Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
0 No. Go to Part 2
Yes. Where is the property?

What is the property? Check all that apply

i Do not deduct secured claims or exemptions. Put the
4,1 11229 Empire Lane pees i
Street address, if available, or other description C Single-family ernie amount of any secured claims on Schedule D:
© Duplex or multi-unit building Creditors Who Have Claims Secured by Property:
CE Condominium or cooperative Current value of the Current value of the
Rockville MD 20852 © Manufactured or mobile home entire property? portion you own?
Ci e eIpIeed OD Land $ 930,000.00 $ 930,000.00
"v ee cn C Investment property :
. Describe the nature of your ownership
CD Timeshare interest (such as fee simple, tenancy by the
Montgomery County OtherTownhouse entireties, or a life estate), if known.
Country Who has an interest in the property? Check Fee simple
one
Debtor 1 only ©) Check if this is community property

OC) Debtor 2 only

( Debtor 1 and Debtor 2 only

(At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

FMV per client opinion

i 2
What Is the property? Check allthiat apply Do not deduct secured claims or exemptions. Put the

1.2 3415 Wenona South . ARAL i
Street address, if available, or other description single-family ea amount of any secured claims on Schedule D: /
0 Duplex or multi-unit building Creditors Who Have Claims Secured by Property:
CJ Condominium or cooperative Current value of the Current value of the
i i 2 i ?
Laurel MD 20724 ( Manufactured or mobile home entire property? portion you own?
CO Land $ 252,100.00 $ 50,420.00

City State ZIP Code
(Eiitewestment property Describe the nature of your ownership

© Timeshare interest (such as fee simple, tenancy by the
Anne Arundel County 0 Other_____ entireties, or a life estate), if known.
Country Who has an interest in the property? Check Fee simple

one

OD Debtor 1 only ©) Check if this is community property

© Debtor 2 only
©) Debtor 1 and Debtor 2 only
At least one of the debtors and another

Other information you wish to add about this item, such as local

page 1 of 6

\\P

. Case 22-12609 Doci19 Filed 06/14/22 Page 4 of 38

Debtor 1 William Charles Bevan Jr. Case number(if known) 22-12609

First Name Middle Name Last Name

property identification number:

FMV per SDAT; Debtor and 4 siblings or their heirs own property JTWRS; they are
heirs of 6th owner who is deceased

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here > $980,420.00

Car Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

0 No

Yes
3 : Who h n interest i ? . .
a Ne one as an interest in the property? Check Do not deduct secured claims or exemptions. Put the
Model:Corvette amount of any secured claims onSchedule D:
Year: 2001 Debtor 1 only Creditors Who Have Claims Secured by Property:

C) Debtor 2 only

Approximate mileage: —__ Current value of the Current value of the

Other information: (2) bepaes Lrarnl ation 2 ents entire property? —_— portion you own?
Condigon: (At least one of the debtors and another $ 5,000.00 $ 5,000.00
(CD Check if this is community property (see
instructions)
. i i 2
3.2 Make:Saturn Who has an interest in the property? Check (Goinotdechict secimed clans oF exemiptiona, Put the
Model:Vue one amount of any secured claims onSchedule D:
Véar: 2006 Debtor 1 only Creditors Who Have Claims Secured by Property:

—_— Debtor 2 onl
Approximate mileage: —___ 0 y

Other information:
Condition:

Current value of the Current value of the
CO) Debtor 1 and Debtor 2 only entire property? portion you own?
(Atleast one of the debtors and another $ Unknown $Unknown

0) Check if this is community property (see
instructions)

4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

No
0 Yes

Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
5. you have attached for Part 2. Write that number here > $5,000.00

EERES vescribe Your Personal and Household Items

Current value of the

Do you own or have any legal or equitable interest in any of the following?
portion you own?

Do not deduct secured

6. Household goods and furnishings
claims or exemptions.

Examples: Major appliances, furniture, linens, china, kitchenware

0 No

Yes. Describe...

Sofas, chairs, beds, dressers, tables, dining set, utensils, cookware, linens, lighting fixtures $ 1,000.00

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

0 No

Yes. Describe...

[cel phone, computer equipment, antennas, televisions | $ 500.00

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

No
0 Yes. Describe...

page 6

Case 22-12609 Doci19 Filed 06/14/22 Page 5 of 38

William Charles Bevan Jr. i
Debtor 1 First Name Middle Name Last Name Case number (it known) 22-12609
9. Equipment for sports and hobbies

10.

11,

12.

13.

14.

a5;

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

No

0) Yes. Describe...

Firearms

Examples: Pistols, rifles, shotguns, ammunition, and related equipment

No

©) Yes. Describe...

Clothes

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

0 No

Yes. Describe...

Shirts, pants, suits, coats, jackets, sweatshirts, shoes

Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
gold, silver

No

O Yes. Describe...

Non-farm animals

Examples: Dogs, cats, birds, horses

No

OD Yes. Describe...

Any other personal and household items you did not already list, including any health aids you did not list
No

O Yes. Give specific information...

Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages

you have attached for Part 3. Write that number here

rar Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

16

LT.

18.

19,

$ 350.00

. Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses

and other similar institutions. If you have multiple accounts with the same institution, list each.

0) No

VES. cscessisesornene Institution name:

17.1. Checking account: PenFed Credit Union Checking Account

17.2. Savings account: PenFed Credit Union Savings Account

Bonds, mutual funds, or publicly traded stocks

Examples: Bond funds, investment accounts with brokerage firms, money market accounts
No

(DD VeSiseseoscsnsesesses

an LLC, partnership, and joint venture

OJ No

Yes. Give specific information about them

Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in

Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

$ 20.00

$ 0.00
$ 688.86 _

Wh}

Case 22-12609 Doci19 Filed 06/14/22 Page 6 of 38

William Charles Bevan Jr. i
Debtor 1 First Name Middle Name Last Name Cose number Known) 22-1 2609
Name of entity: % of ownership:
Abevco Incorporated (Nevada corporation; may be forfeit) 100 % $ Unknown

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

No
O Yes. Give specific information about them..........
21. Retirement or pension accounts

Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
0 No

Yes, List each account separately

Type of account Institution name

IRA: Jackson National Life Insurance Company Policy $ Unknown

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

No
O Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
No
QO Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

0 No

Yes. Give specific information about them...

[Privers license $ 1.00
Money or property owed to you? Current value of the

portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
No

© Yes. Give specific information about them, including whether you already filed the returns and the tax years...

Federal: $ 0.00
State: $ 0.00
Local: $ 0.00

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

(¥) No

0 Yes. Give specific information...

\\

page 4 of 6

. Case 22-12609 Doci9 Filed 06/14/22 Page 7 of 38

Debtor 1 William Charles Bevan Jr. Case number(if known) 22-12609

First Name Middle Name Last Name

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else

() No

0 Yes. Give specific information...
31. Interests in insurance policies

No
(Yes. Name the insurance company of each policy and list its value....
32. Any interest in property that is due you from someone who has died
No
DO Yes. Give specific information...
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment

0 No

Yes. Give specific information...

Claims against Manor Care re stolen iPhone and 2 collectible coins ($9000); John Bevan re destruction of personal property
($8000); Old Georgetown HOA ($30,000); and any revisory relief claims pursuant to MD Rule 2-535(b) as referenced in Sch D $ 47,000.00

and Sch E/F

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
off claims

0 No

Yes. Give specific information...

Claims against Trails End for wrongful foreclosure (Sunknown); Manor Care for causing loss of ability to obtain life insurance
by putting Debtor on medication against his will (unknown); $ Unknown

35. Any financial assets you did not already list

(¥) No

O Yes. Give specific information...

36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
you have attached for Part 4. Write that number here. > $47,709.86

en Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

No. Go to Part 6.
O Yes. Go to line 38.

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
© Yes. Go to line 47.

REAL vescribe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
0) No

Yes. Give specific
information...

Purchases in sealed boxes from Amazon stored at Wenona property

54. Add the dollar value of all of your entries from Part 7. Write that number here > con

page 5 of 6

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Debtor 1 William Charles Bevan Jr. Case number(if known) 22-12609

First Name Middle Name Last Name

List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 >
$980,420.00

56. Part 2: Total vehicles, line 5 $ 5,000.00
57. Part 3: Total personal and household items, line 15 $ 1,850.00
58. Part 4: Total financial assets, line 36 $ 47,709.86
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00
61. Part 7: Total other property not listed, line 54 + $ 0.00
62. Total personal property. Add lines 56 through 61 uu... $ 54,559.86 Copy personal property total> +$

54,559.86
63. Total of all property on Schedule A/B. Add line 55 + line 62 $ 1,034,979.86

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PIMA MILL ltcolim Come (Tn CLAVm Cel) mer: -m

William Charles Bevan Jr.

Debtor 1

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Maryland

Case number _22-12609 [J Check if this is an
(If known) oh
amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

[1 You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
U) You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amountofthe Specific laws that allow exemption
Schedule A/B that lists this property portion you own exemption you claim
Copy the value from Check only one box
Schedule A/B for each exemption
a 11229 Empire Lane Md. Code Ann., [Cts. & Jud. Proc.] §
ne 930,000.00 11-504 (f)(1)(i)(2)
description: Gee [1s 25,150.00

CO 100% of fair market value, up to
any applicable statutory limit

Line from
Schedule A/B: 1.1
Brief 2001 Chevrolet Corvette M0 coo. aa & Jud. Proc.] §
s |
description: $5,000.00 [Zs 5,000.00 (f)(1)()(1)
[[) 100% of fair market value, up to
Line from any applicable statutory limit
Schedule A/B: 3.1
Brief Household Goods - Sofas, chairs, beds, dressers, Md. Code Ann., [Cts. & Jud. Proc.] §
tables, dining set, utensils, cookware, linens, lighting ¢ 1,000.00 [Z]s 1,000.00 11-504 (b)(4)

description: fixtures
[-] 100% of fair market value, up to

Line from any applicable statutory limit

Schedule A/B: 6
3. Are you claiming a homestead exemption of more than $189,050?
(Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

1] No

C1 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
CI No
CO Yes

WE
Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of &

Case 22-12609

Debtor William Charles Bevan Jr.

First Name Middle Name Last Name

ee Additional Page

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Case number (if known), 22-1 2609

Brief description of the property and line
on Schedule A/B that lists this property

Schedule A/B

Electronics - Cell phone, computer equipment, antennas,
Brief televisions

description:

Line from
Schedule A/B: 7

Cash on hand (Cash on Hand)
Brief

description: $20.00

Line from
Schedule A/B: 16

. PenFed Credit Union Savings Account (Savings
Brief Account)

description: $688.86

Line from
Schedule A/B: 17.2

. Jackson National Life Insurance Company Policy
Brief Unknown
description: $
Line from
Schedule A/B: 21

. Claims against Manor Care re stolen iPhone and 2
Brief collectible coins ($9000); John Bevan re destruction of
description: personal property ($8000); Old Georgetown HOA

($30,000); and any revisory relief claims pursuant to MD

. Rule 2-535(b) as referenced in Sch D and Sch E/F (owed
Line from in dahtan\

Schedule A/B: —.33

Brief
description:

$47,000.00

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief

Current value of the
portion you own
Copy the value from

$500.00

Amount of the
exemption you claim

Check only one box
for each exemption

g 500.00

O 100% of fair market value, up to
any applicable statutory limit

$ 20.00

[_]100% of fair market value, up to
any applicable statutory limit

¢ 688.86

OC 100% of fair market value, up to
any applicable statutory limit

g x88 Balance in account

CO 100% of fair market value, up to
any applicable statutory limit

[7s 4,791.14

TC 100% of fair market value, up to
any applicable statutory limit

CIs

O 100% of fair market value, up to
any applicable statutory limit

Cs

CL 100% of fair market value, up to
any applicable statutory limit

Os

CT] 100% of fair market value, up to
any applicable statutory limit

Lis

description:
Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Official Form 106C

O 100% of fair market value, up to
any applicable statutory limit

Lis

O 100% of fair market value, up to
any applicable statutory limit

C]s_
[_] 100% of fair market value, up to
any applicable statutory limit

Lis

TC 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

Md. Code Ann., [Cts. & Jud. Proc.] §
11-504 (b)(5)

Md. Code Ann., [Cts. & Jud. Proc.] §
11-504 (b)(5)

Md. Code Ann., [Cts. & Jud. Proc.] §
11-504 (b)(5)

Md. Code Ann., [Cts. & Jud. Proc.] §
11-504 (h)(1)

Md. Code Ann., [Cts. & Jud. Proc.] §
11-504 (b)(5)

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MOM UM AoeLitiColim om (e(ulC a an ell mer: tion

Debtor 1

(Spouse, if filing) First name

(if know)

William Charles Bevan Jr.

ist Name Middle Name

Debtor 2

Last Name

Middle Name

United States Bankruptcy Court for the: District of Maryland

Case number 5519609

Last Name

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

O Check if this is
an amended
filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
your name and case number (if known).

1.Do any creditors have claims secured by your property?
©) No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

Yes. Fill in all of the information below.

List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor

Column A

separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of

Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name.

2a]

BB&T

Creditor’s Name

c/o Jordan M. Spivok, Esq.

Number Street
4330 East West Hwy, #900

Bethesda MD _20814

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

© Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

OD Check if this claim relates to a
community debt

Date debt was incurred

Official Form 106D

claim Do not
deduct the value
of collateral.

Describe the property that secures the claim: $ 19,801.68

Column B
Value of
collateral that
supports this
claim

$ 930,000.00

Column C
Unsecured
portion If any

$ 0.00

11229 Empire Lane, Rockville, MD 20852 - $930,000.00

As of the date you file, the claim is: Check all
that apply.

(C Contingent

(CD unliquidated

Disputed

Nature of lien. Check all that apply.

oO An agreement you made (such as mortgage or
secured car loan)

O Statutory lien (such as tax lien, mechanic’s lien)

Judgment lien from a lawsuit ; Debtor asserts revisory relief under Md. Rule 2-535(b)

© Other (including a right to offset)

Last 4 digits of account number

Schedule D: Creditors Who Have Claims Secured by Property

page 1 ol

Debtor

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2a]

Case 22-12609 Doci19 Filed 06/14/22 Page 12 of 38

William Charles Bevan Jr.

Case number(if known) 22-12609

First Name Middle Name Last Name

Chincoteague Bay Trails End HOA

Creditor’s Name

PO Box 240

Number Street

Horntown VA 23395
City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

©) Debtor 1 and Debtor 2 only

OC) Atleast one of the debtors and another

©) Check if this claim relates to a
community debt

Date debt was incurred

Fay Servicing

Creditor’s Name
1601 Lbj Freeway

Number Street
Farmers Branch TX 75234
City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

©) Debtor 1 and Debtor 2 only

OD) Atleast one of the debtors and another

O Check if this claim relates to a
community debt

Date debt was incurred 2003

Manor Care of Bethesda, MD LLC

Creditor’s Name
1209 Orange St.

Number Street
Wilmington DE 19801
City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

O Debtor 2 only

© Debtor 1 and Debtor 2 only

(At least one of the debtors and another

© Check if this claim relates to a
community debt

Date debt was incurred

Official Form 106D

$ 930,000.00 $ 0.00

Describe the property that secures the claim: $ 2,761.87

11229 Empire Lane, Rockville, MD 20852 - $930,000.00

As of the date you file, the claim is: Check all
that apply.

© Contingent

© Unliquidated

Disputed

Nature of lien. Check all that apply.

©) An agreement you made (such as mortgage or
secured car loan)

() Statutory lien (such as tax lien, mechanic’s lien)
Judgment lien from a lawsuit ; Debtor asserts revisory relief under Md. Rule 2-535(b)
OC Other (including a right to offset)

Last 4 digits of account number

Describe the property that secures the claim: $ 262,501.00 $ 930,000.00 $ 0.00
11229 Empire Lane, Rockville, MD 20852 - $930,000.00
As of the date you file, the claim is: Check all
that apply.
C Contingent
©) unliquidated
Disputed
Nature of lien. Check all that apply.
An agreement you made (such as mortgage or
secured car loan) ; Debtor asserts revisory relief under Md. Rule 2-535(b)
© Statutory lien (such as tax lien, mechanic's lien)
© Judgment lien from a lawsuit
© Other (including a right to offset)
Last 4 digits of account number 9383
Describe the property that secures the claim: $ 58,365.27 $ 930,000.00 $ 0.00

11229 Empire Lane, Rockville, MD 20852 - $930,000.00

As of the date you file, the claim is: Check all
that apply.

©) Contingent

(CD unliquidated

Disputed

Nature of lien. Check all that apply.

D0 An agreement you made (such as mortgage or
secured car loan)

CD) Statutory lien (such as tax lien, mechanic's lien)
Judgment lien from a lawsuit; Debtor asserts revisory relief under Md. Rule 2-535(b)
©) Other (including a right to offset)

Last 4 digits of account number

Schedule D: Creditors Who Have Claims Secured by Property

page 2 of 6
Debtor

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Case 22-12609 Doc19 Filed 06/14/22 Page 13 of 38

William Charles Bevan Jr.

Case number(if known) 22-12609

First Name Middle Name Last Name

Montgomery County, Maryland

Creditor’s Name
101 Monroe St., 3rd Floor

Number Street
Rockville MD 20850
City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

© Debtor 1 and Debtor 2 only

OC Atleast one of the debtors and another

O) Check if this claim relates to a
community debt

Date debt was incurred

Old Georgetown Village HOA

Creditor’s Name
c/o Abaris Realty Inc.

Number — Street
7811 Montrose Rd., #110

Potomac MD 20854

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

© Debtor 1 and Debtor 2 only

(At least one of the debtors and another

O Check if this claim relates to a
community debt

Date debt was incurred

Old Georgetown Village HOA

Creditor’s Name

c/o Abaris Realty Inc.

Number Street
7811 Montrose Rd., #110

Potomac MD 20854

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

©) Debtor 1 and Debtor 2 only

(At least one of the debtors and another

© Check if this claim relates to a
community debt

Date debt was incurred

Official Form 106D

$ 930,000.00 $ 0.00

Describe the property that secures the claim: $ 1,000.00

11229 Empire Lane, Rockville, MD 20852 - $930,000.00

As of the date you file, the claim is: Check all
that apply.

O) Contingent

© Unliquidated

Disputed

Nature of lien. Check all that apply.

© An agreement you made (such as mortgage or
secured car loan)

© Statutory lien (such as tax lien, mechanic's lien)
Judgment lien from a lawsuit; Debtor asserts revisory relief under Md. Rule 2-535(b)
(CD Other (including a right to offset)

Last 4 digits of account number

$ 930,000.00 $ 0.00

Describe the property that secures the claim: $ 2,852.30

11229 Empire Lane, Rockville, MD 20852 - $930,000.00

As of the date you file, the claim is: Check all
that apply.

© Contingent

0 Unliquidated

Disputed

Nature of lien. Check all that apply.

O An agreement you made (such as mortgage or
secured car loan)

(CD Statutory lien (such as tax lien, mechanic's lien)
© Judgment lien from a lawsuit
Other (including a right to offset) HOA lien ; Debtor asserts revisory relief under Md. Rule 2-535(b)

Last 4 digits of account number

$ 930,000.00 $ 0.00

Describe the property that secures the claim: $ 2,892.70

11229 Empire Lane, Rockville, MD 20852 - $930,000.00

As of the date you file, the claim is: Check all
that apply.

© Contingent

© Unliquidated

Disputed

Nature of lien. Check all that apply.

(An agreement you made (such as mortgage or
secured car loan)
©) Statutory lien (such as tax lien, mechanic’s lien)

© Judgment lien from a lawsuit
Other (including a right to offset) HOA lien; Debtor asserts revisory relief under Md. Rule 2-535(b)

Last 4 digits of account number

Schedule D: Creditors Who Have Claims Secured by Property

Debtor

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2.10

Case 22-12609 Doci9 Filed 06/14/22 Page 14 of 38

William Charles Bevan Jr.

Case number(if known) 22-12609

First Name Middle Name Last Name

Old Georgetown Village HOA

Creditor's Name

c/o Abaris Realty Inc.

Number Street
7811 Montrose Rd., #110

Potomac MD 20854

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

© Debtor 1 and Debtor 2 only

OD Atleast one of the debtors and another

O Check if this claim relates to a
community debt

Date debt was incurred

Old Georgetown Village HOA

Creditor’s Name
c/o Abaris Realty Inc.

Street
7811 Montrose Rd., #110

Number

Potomac MD 20854

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

©) Debtor 2 only

©) Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

©) Check if this claim relates to a
community debt

Date debt was incurred

Old Georgetown Village HOA

Creditor’s Name
c/o Abaris Realty Inc.

Number Street
7811 Montrose Rd., #110

Potomac MD 20854

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

© Debtor 1 and Debtor 2 only

(At least one of the debtors and another

O Check if this claim relates to a
community debt

Date debt was incurred

Official Form 106D

$ 930,000.00 $ 0.00

Describe the property that secures the claim: $ 13,559.34

11229 Empire Lane, Rockville, MD 20852 - $930,000.00

As of the date you file, the claim is: Check all
that apply.

©) Contingent

© unliquidated

Disputed

Nature of lien. Check all that apply.

© An agreement you made (such as mortgage or
secured car loan)

() Statutory lien (such as tax lien, mechanic’s lien)
(> Judgment lien from a lawsuit
Other (including a right to offset) HOA lien; Debtor asserts revisory relief under Md. Rule 2-535(b)

Last 4 digits of account number

$ 930,000.00 $ 0.00

Describe the property that secures the claim: $ 1,531.00

11229 Empire Lane, Rockville, MD 20852 - $930,000.00

As of the date you file, the claim is: Check all
that apply.

©) Contingent

© Unliquidated

Disputed

Nature of lien. Check all that apply.

© An agreement you made (such as mortgage or
secured car loan)

(2 Statutory lien (such as tax lien, mechanic’s lien)
(C Judgment lien from a lawsuit
Other (including a right to offset) HOA lien; Debtor asserts revisory relief under Md. Rule 2-535(b)

Last 4 digits of account number

$ 930,000.00 $ 0.00

Describe the property that secures the claim: $ 8,555.50

11229 Empire Lane, Rockville, MD 20852 - $930,000.00

As of the date you file, the claim is: Check all
that apply.

O) Contingent

0 Unliquidated

Disputed

Nature of lien. Check all that apply.

(CD An agreement you made (such as mortgage or
secured car loan)

C) Statutory lien (such as tax lien, mechanic’s lien)
(FD Judgment lien from a lawsuit
Other (including a right to offset) HOA lien; Debtor asserts revisory relief under Md. Rule 2-535(b)

Last 4 digits of account number

8S

Schedule D: Creditors Who Have Claims Secured by Property page 4 of 6

Debtor

Case 22-12609 Doc19 Filed 06/14/22 Page 15of 38

William Charles Bevan Jr.

Case number(if known) 22-12609

First Name Middle Name Last Name

Trails End Utility Company

Creditor's Name
PO Box 829638

Number Street
Philadelphia PA 19182
City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

OD Debtor 2 only

© Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

O Check if this claim relates to a
community debt

Date debt was incurred

U.S. Dept. of Housing and Urban

Creditor’s Name

Development

100 Penn Square East

Number Street
Philadelphia PA 19107
City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

©) Debtor 1 and Debtor 2 only

(At least one of the debtors and another

© Check if this claim relates to a
community debt

Date debt was incurred

$ 930,000.00 $ 0.00

Describe the property that secures the claim: $ 388.28

11229 Empire Lane, Rockville, MD 20852 - $930,000.00

As of the date you file, the claim is: Check all
that apply.

O Contingent

© Unliquidated

Disputed

Nature of lien. Check all that apply.

© An agreement you made (such as mortgage or
secured car loan)

© Statutory lien (such as tax lien, mechanic’s lien)
Judgment lien from a lawsuit; Debtor asserts revisory relief under Md. Rule 2-535(b)
(CD Other (including a right to offset)

Last 4 digits of account number

$ 930,000.00 $ 0.00

Describe the property that secures the claim: $ 50,000.00

11229 Empire Lane, Rockville, MD 20852 - $930,000.00

As of the date you file, the claim is: Check all
that apply.

©) Contingent

(D> unliquidated

Disputed

Nature of lien. Check all that apply.

An agreement you made (such as mortgage or
secured car loan); Debtor asserts revisory relief under Md. Rule 2-535(b)

©) Statutory lien (such as tax lien, mechanic’s lien)
(DF Judgment lien from a lawsuit
© Other (including a right to offset)

Last 4 digits of account number

Add the dollar value of your entries in Column A on this page. Write that number here: | $ 424,208.94 |

List Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
additional persons to be notified for any debts in Part 1, do not fill out or submit this page.

On which line in Part 1 did you enter the creditor? 2.2
Last 4 digits of account number

David W. Rowan, Esq.
Creditor's Name

23279 Courthouse Ave.

Number Street

PO Box 561

Accomac VA 23301
City State ZIP Code

On which line in Part 1 did you enter the creditor? 2.8
Last 4 digits of account number

Old Georgetown Village HOA

Creditor’s Name

c/o Meyers, Rodbell & Rosenbaum, PA
Number Street

6801 Kenilworth Ave., Ste 400

20737
ZIP Code

Riverdale MD
City State

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property

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Debtor William Charles Bevan Jr. Case number(if known) 22-12609
First Name Middle Name Last Name
William Rudow, Esq. On which line in Part 1 did you enter the creditor? 2.4
Creditor's Name Last 4 digits of account number

Rudow Law Group LLC
Number Street

502 Washington Ave., Ste. 730

19801
City State ZIP Code

hp

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 6 of 6

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IMT CM aleluir-lcelam cem(e(n melt Lm@er: ioe

Debtor 1 William Charles Bevan Jr.

Fist Native Middle Name

Debtor 2

Last Name

(Spouse, if filing)” First Name Tee

Case number 59.149699

Last Name

United States Bankruptcy Court for the: District of Maryland

O Check if this is

(if know) an amended
filing

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
(Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write

your name and case number (if known).

List All of Your PRIORITY Unsecured Claims

1.Do any creditors have priority unsecured claims against you?

No. Go to Part 2.

D Yes.

List All of Your NONPRIORITY Unsecured Claims

3.Do any creditors have nonpriority unsecured claims against you?
(No. You have nothing else to report in this part. Submit to the court with your other schedules.

Yes. Fill in all of the information below.

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

4.1 Bank Of America, N.A.

Nonpriority Creditor's Name
4909 Savarese Cir

Number Street
Tampa FL 33634

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

C Debtor 2 only

(CD Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

O Check if this claim relates to a community
debt

Is the claim subject to offset?
No
O Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

Last 4 digits of account number 1599 $ 0.00
When was the debt incurred? 2003 ~~

As of the date you file, the claim is: Check all that apply.
Contingent

Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

(2 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(D Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Subject to statute of limitations

Xa

Debtor

a]

a3]

4.4]

Case 22-12609 Doc19 Filed 06/14/22 Page 18 of 38

William Charles Bevan Jr.

First Name Middle Name Last Name

Butler Medical Transport

Nonpriority Creditor's Name
8804 Orchard Tree Lane

Number Street
Towson MD 21286

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

©) Debtor 1 and Debtor 2 only

OC Atleast one of the debtors and another

O Check if this claim relates to a community
debt

Is the claim subject to offset?
No
OO Yes

Capital One

Nonpriority Creditor's Name
Po Box 31293

Number _ Street
Salt Lake City UT 84131

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

©) Debtor 1 and Debtor 2 only

(At least one of the debtors and another

O Check if this claim relates to a community
debt

Is the claim subject to offset?
No
O Yes

Ccb/Haband

Nonpriority Creditor's Name
Po Box 182120

Number Street
Columbus OH 43218

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

(CD Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

©) Check if this claim relates to a community
debt

Is the claim subject to offset?
No
O Yes

Official Form 106E/F

Case number(if known) 2232-12609

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
Contingent

Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

OD Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

OD Debts to pension or profit-sharing plans, and other similar
debts

Other, Specify Medical services; Subject to statute of
limitations

Last 4 digits of account number ****
When was the debt incurred? 2022

As of the date you file, the claim is: Check all that apply.
Contingent

Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

(D Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

© Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Subject to statute of limitations

Last 4 digits of account number ****
When was the debt incurred? 2018

As of the date you file, the claim is: Check all that apply.
Contingent

Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:

O)Student loans

© Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

©) Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Charge account; Subject to statute of
limitations

Schedule E/F: Creditors Who Have Unsecured Claims

$ Unknown

$ 0.00

$ 0.00

e 2 of\13

Debtor

a5]

a]

47]

Case 22-12609 Doci19 Filed 06/14/22 Page 19 of 38
Case number(if known) 22-12609

William Charles Bevan Jr.

First Name Middle Name Last Name

Charles S. Lazar, Esq.

Nonpriority Creditor's Name
PO Box 1767

Number Street

Rockville MD — 20852

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

( Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

OD Check if this claim relates to a community
debt

Is the claim subject to offset?
No
0 Yes

Comenity Capital Bank/HSN

Nonpriority Creditor's Name
PO Box 182120

Number Street
Columbus OH 43218

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

OC Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

0D Check if this claim relates to a community
debt

Is the claim subject to offset?
No
0 Yes

Comenity / MPRC

Nonpriority Creditor's Name
PO Box 182120

Number _ Street
Columbus OH 43218

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

C Debtor 2 only

(CD Debtor 1 and Debtor 2 only

OC Atleast one of the debtors and another

O Check if this claim relates to a community
debt

Is the claim subject to offset?
No
0 Yes

Official Form 106E/F

Last 4 digits of account number 9101
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
O Contingent

© Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:
O)Student loans

(0D Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(CD Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Attorney Fees; Subject to statute of
limitations

Last 4 digits of account number 1926
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
©) Contingent

© unliquidated

Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

(D Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(CD Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Charge Account; Subject to statute of
limitations

Last 4 digits of account number 9595
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
© Contingent

© unliquidated

Disputed

Type of NONPRIORITY unsecured claim:

QO)Student loans

0D Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

OC Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Charge account; Subject to statute of
limitations

Schedule E/F: Creditors Who Have Unsecured Claims

$ 870.00

$ 979.00

$ 0.00

page 3 o

Debtor

a3]

4.10

Case 22-12609 Doci19 Filed 06/14/22 Page 20 of 38

William Charles Bevan Jr.

First Name Middle Name Last Name

Credit One Bank Na

Nonpriority Creditor's Name
Po Box 98875

Number Street
Las Vegas NV __ 89193
City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

( Debtor 2 only

() Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

O Check if this claim relates to a community
debt

Is the claim subject to offset?
No
OO Yes

Credit Service of Oregon

Nonpriority Creditor's Name
PO Box 7548

Number Street
97475

City ZIP Code

Who owes the debt? Check one.
Debtor 1 only

() Debtor 2 only

(Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

OD Check if this claim relates to a community
debt

Is the claim subject to offset?
No
OD Yes

Fetti Fingerhut/Webban

State

Nonpriority Creditor's Name
13300 Pioneer Trl

Number Street
Eden Prairie MN 55347
City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

(D Debtor 1 and Debtor 2 only

(At least one of the debtors and another

©) Check if this claim relates to a community
debt

Is the claim subject to offset?
No
O Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Case number(if known) 22-12609

Last 4 digits of account number 9970

$ 405.00

When was the debt incurred? 2022 —
As of the date you file, the claim is: Check all that apply.
O) Contingent
(CD unliquidated
© Disputed
Type of NONPRIORITY unsecured claim:
O)Student loans
© Obligations arising out of a separation agreement or divorce

that you did not report as priority claims
(CD Debts to pension or profit-sharing plans, and other similar

debts
Other. Specify Credit card; Subject to statute of limitations
Last 4 digits of Secoun number $ 81.00
When was the debt incurred?
As of the date you file, the claim is: Check all that apply.
©) Contingent
OD Unliquidated
Disputed
Type of NONPRIORITY unsecured claim:
(O)Student loans
0 Obligations arising out of a separation agreement or divorce

that you did not report as priority claims
OD) Debts to pension or profit-sharing plans, and other similar

debts
Other. Specify Collection; Subject to statute of limitations
Last 4 digits of account number **** $ 0.00
When was the debt incurred? 2022 —_
As of the date you file, the claim is: Check all that apply.
O Contingent
© Unliquidated
Disputed
Type of NONPRIORITY unsecured claim:
(Student loans
(D Obligations arising out of a separation agreement or divorce

that you did not report as priority claims
© Debts to pension or profit-sharing plans, and other similar

debts
Other. Specify Charge account; Subject to statute of
limitations

page 4 of 13

Debtor

4.11

Case 22-12609 Doci19 Filed 06/14/22 Page 21 of 38

William Charles Bevan Jr.

First Name Middle Name Last Name

First Premier Bank

Case number(if known) 22-12609

Last 4 digits of account number 9996

Nonpriority Creditor's Name
601 S Minnesota Ave

When was the debt incurred? 2022

As of the date you file, the claim is: Check all that apply.

Number Street
Sioux Falls SD 57104

OD Contingent

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

(CD Debtor 2 only

C) Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

O Check if this claim relates to a community
debt

Is the claim subject to offset?

© unliquidated
OD Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

(D Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(C Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Subject to statute of limitations

Last 4 digits of account number 0499

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

0 Contingent
OC unliquidated

No
OO Yes
4.12] Golden Living Center - Hagerstown
Nonpriority Creditor's Name
750 Dual Highway
Number Street
Hagerstown MD 21740
City State ZIP Code
Who owes the debt? Check one.
Debtor 1 only
©) Debtor 2 only
(C Debtor 1 and Debtor 2 only
(Atleast one of the debtors and another
O Check if this claim relates to a community
debt
Is the claim subject to offset?
No
O Yes
4.13

Howard County General Hospital

Disputed

Type of NONPRIORITY unsecured claim:
O)Student loans

© Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(CD Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Dental; Subject to statute of limitations

Last 4 digits of account number
When was the debt incurred?

Nonpriority Creditor's Name
5755 Cedar Lane

As of the date you file, the claim is: Check all that apply.

Number Street
Columbia MD 21044

O Contingent
© unliquidated

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

OD Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

OD Check if this claim relates to a community
debt

Is the claim subject to offset?
No
O Yes

Official Form 106E/F

Disputed

Type of NONPRIORITY unsecured claim:
O)Student loans

© Obligations arising out of a separation agreement or divorce

that you did not report as priority claims

OC Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Medical; Subject to statute of limitations

Schedule E/F: Creditors Who Have Unsecured Claims

$ 590.00

$ 1,381.75

$ Unknown

Sk

page 5 of 13
Debtor

4.14

4.15

Case 22-12609 Doci19 Filed 06/14/22 Page 22 of 38
Case number(if known) 22-12609

William Charles Bevan Jr.

First Name Middle Name Last Name

I.C. System, Inc

Nonpriority Creditor's Name
Po Box 64378

Number — Street

Saint Paul MN 55164

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

( Debtor 1 and Debtor 2 only

(At least one of the debtors and another

OC Check if this claim relates to a community
debt

Is the claim subject to offset?
No
0 Yes

Johns Hopkins Medicine Medicare Plan

4.16

Nonpriority Creditor's Name
PO Box 3438

Number Street
Scranton PA 18505

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

©) Debtor 2 only

( Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

O Check if this claim relates to a community
debt

Is the claim subject to offset?
No
OD Yes

Johns Hopkins Pharmaquip

Nonpriority Creditor's Name
PO Box 418479

Number Street

Boston MA 02241

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

OD Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

O Check if this claim relates to a community
debt

Is the claim subject to offset?
No
O Yes

Official Form 106E/F

Last 4 digits of account number 6***
When was the debt incurred? 2021

As of the date you file, the claim is: Check all that apply.
Contingent

Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

(CD Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

© Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Subject to statute of limitations

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
Contingent

Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:
QO)Student loans

0 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

© Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Medical Insurance; subject to statute of
limitations

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
O Contingent

OD unliquidated

O Disputed

Type of NONPRIORITY unsecured claim:

Q)Student loans

© Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

©) Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Medical equipment

Schedule E/F: Creditors Who Have Unsecured Claims

$ 985.00

$ Unknown

$ 85.71

page

Jr

13

Debtor

4.17

Case 22-12609 Doci19 Filed 06/14/22 Page 23 of 38

William Charles Bevan Jr.

First Name Middle Name Last Name

Jon Bevan, Ingrid Bevan and Matthew Bevan

4.18

Nonpriority Creditor's Name

c/o Anthony Joseph Dipaula

Number Street

34 S. Main St.

Bel Air MD 21014

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

0) Debtor 2 only

(D Debtor 1 and Debtor 2 only

CD) Atleast one of the debtors and another

©) Check if this claim relates to a community
debt

Is the claim subject to offset?
No
0 Yes

Jpmcb Card

4.19

Nonpriority Creditor's Name

Number Street

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

( Debtor 1 and Debtor 2 only

(At least one of the debtors and another

(D Check if this claim relates to a community
debt

Is the claim subject to offset?
No
OJ Yes

Klsfinancial

Nonpriority Creditor's Name
991 Aviation Pkwy Suite 300

Number Street
Morrisville NC 27560
City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

CD Debtor 2 only

( Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

( Check if this claim relates to a community
debt

Is the claim subject to offset?
No
0 Yes

Official Form 106E/F

Case number(if known) 22-12609

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
Contingent

Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:
O)Student loans

(D Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

oO Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Pending lawsuit

Last 4 digits of account number ****
When was the debt incurred? 1990

As of the date you file, the claim is: Check all that apply.
Contingent

Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:
O)Student loans

OD Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

() Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Credit card; Subject to statute of limitations

Last 4 digits of account number ****
When was the debt incurred? 2019

As of the date you file, the claim is: Check all that apply.
O Contingent

(D> unliquidated

Disputed

Type of NONPRIORITY unsecured claim:

(Student loans

( Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(CD Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Collection; Subject to statute of limitations

$ Unknown

$ 0.00

$ 94.00

ANE

Schedule E/F: Creditors Who Have Unsecured Claims

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Case 22-12609 Doc19 Filed 06/14/22 Page 24 of 38

Debtor William Charles Bevan Jr. Case number(if known) 22-12609

First Name Middle Name Last Name

4.20 Last 4 digits of account number 8*** $ 464,00

Medicredit, Inc .
Nonpriority Creditors Name When was the debt incurred? 2021

Po Box 1629 As of the date you file, the claim is: Check all that apply.
Number Street DO Contingent

Marland Heights MO _ 63043 © unliquidated

City State ZIP Code Disputed

Who owes the debt? Check one.

Debtor 1 only Type of NONPRIORITY unsecured claim:

(€ Debtor 2 only O)Student loans

( Debtor 1 and Debtor 2 only OD Obligations arising out of a separation agreement or divorce

that you did not report as priority claims

C) Atleast one of the debtors and another (CD Debts to pension or profit-sharing plans, and other similar

© Check if this claim relates to a community debts
debt Other. Specify Collection; Subject to statute of limitations
Is the claim subject to offset?
No
OO Yes
4.21 Last 4 digits of account number $ 1,005.00

Montgomery County, MD
Nonpriority Creditor's Name

When was the debt incurred?

101 Monroe St., 3rd Floor As of the date you file, the claim is: Check all that apply.
Number Street © Contingent

Rockville MD 20850 © unliquidated

City State ZIP Code DO Disputed

Who owes the debt? Check one.

Debtor 1 only Type of NONPRIORITY unsecured claim:

(C)Student loans

0 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(J Debtor 2 only
(© Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another © Debts to pension or profit-sharing plans, and other similar
© Check if this claim relates to a community debts
debt Other. Specify Judgment re Municipal Infraction
Is the claim subject to offset?
No
O Yes
4.22 Last 4 digits of account number $ Unknown

Montgomery County, MD
Nonpriority Creditor's Name

When was the debt incurred?

101 Monroe St. As of the date you file, the claim is: Check all that apply.
Number Street ©) Contingent

Rockville MD 20852 © Unliquidated

City State ZIP Code Disputed

Who owes the debt? Check one.
Debtor 1 only

©) Debtor 2 only

( Debtor 1 and Debtor 2 only

Type of NONPRIORITY unsecured claim:
(Student loans

© Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C Atleast one of the debtors and another CD Debts to pension or profit-sharing plans, and other similar
O Check if this claim relates to a community debts
debt Other. Specify Municipal violations
Is the claim subject to offset?
No
OO Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 8 of 13

Debtor

4.23

Case 22-12609 Doci19 Filed 06/14/22 Page 25 of 38
Case number(if known) 22-12609

William Charles Bevan Jr.

First Name Middle Name Last Name

Online Collections

Last 4 digits of account number 2434

4.24

Nonpriority Creditor's Name
PO Box 1489

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Number Street
Winterville NC 28590

O Contingent
© unliquidated

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

© Debtor 1 and Debtor 2 only

(At least one of the debtors and another

(CD Check if this claim relates to a community
debt

Is the claim subject to offset?
No
O00 Yes

PEPCO

Disputed

Type of NONPRIORITY unsecured claim:

(Student loans

0 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(CD Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Charge account; Subject to statute of
limitations

Last 4 digits of account number 0667

4.25

Nonpriority Creditor's Name
PO Box 13608

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Number Street
Philadelphia PA 19101

0 Contingent
©) unliquidated

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

OC Debtor 2 only

( Debtor 1 and Debtor 2 only

(At least one of the debtors and another

© Check if this claim relates to a community
debt

Is the claim subject to offset?
No
0 Yes

Potomac Gardens ALC

OC Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

(D Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(C Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Utility Services

Last 4 digits of account number

Nonpriority Creditor's Name
11719 Devilwood Dr.

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Number — Street
Potomac MD 20854

© Contingent
© unliquidated

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

(CD Debtor 2 only

(CD Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

O Check if this claim relates to a community
debt

Is the claim subject to offset?
No
OD Yes

Official Form 1O6E/F

© Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

©} Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

© Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Rent

Schedule E/F: Creditors Who Have Unsecured Claims

$ 70.00

$ 3,965.90

$ 0.00

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Debtor

4.26

4.27

Case 22-12609 Doci19 Filed 06/14/22 Page 26 of 38

William Charles Bevan Jr.

First Name Middle Name Last Name

Promedica SNF Bethesda

Case number(if known) 22-12609

Last 4 digits of account number

Nonpriority Creditor's Name
6430 Democracy Blvd.

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Number Street
Bethesda MD 20817

O Contingent
0 Unliquidated

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

© Debtor 1 and Debtor 2 only

(At least one of the debtors and another

O Check if this claim relates to a community
debt

Is the claim subject to offset?
No
0 Yes

Southwest Credit Systems

Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

0} Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

CD Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Subject to statute of limitations

Last 4 digits of account number 0637

4.28

Nonpriority Creditor's Name

4120 International Pkwy

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Number Street
Carrollton TX 75007

© Contingent
© Unliquidated

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

OC Debtor 2 only

©) Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

©) Check if this claim relates to a community
debt

Is the claim subject to offset?
No
O Yes

State of Maryland

Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

© Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

© Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Collection; Subject to statute of limitations

Last 4 digits of account number
When was the debt incurred?

Nonpriority Creditor's Name
300 W Preston St.

As of the date you file, the claim is: Check all that apply.

Number Street
Baltimore MD = 21201

© Contingent
OD unliquidated

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

QO Debtor 2 only

( Debtor 1 and Debtor 2 only

CD) Atleast one of the debtors and another

©) Check if this claim relates to a community
debt

Is the claim subject to offset?
No
O Yes

Official Form 106E/F

Disputed

Type of NONPRIORITY unsecured claim:
(C)Student loans

©) Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

OC Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Collection for judiciary

Schedule E/F: Creditors Who Have Unsecured Claims

$ 36,122.00

$ 530.00

$ Unknown

aS

page 10 of 13
Debtor

4.29

4.31

Case 22-12609 Doci19 Filed 06/14/22 Page 27 of 38

William Charles Bevan Jr.

First Name Middle Name Last Name

Transworld Sys Inc/33

Case number(if known) 22-12609

Last 4 digits of account number 12**

Nonpriority Creditor's Name

500 Virginia Dr

When was the debt incurred? 2020

As of the date you file, the claim is: Check all that apply.

Number Street
Ft Washington PA 19034

© Contingent
OD Unliquidated

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

() Debtor 2 only

©) Debtor 1 and Debtor 2 only

OC At least one of the debtors and another

OD Check if this claim relates to a community
debt

Is the claim subject to offset?
No
OO Yes

Valley Credit Service, Inc.

Disputed

Type of NONPRIORITY unsecured claim:
QO)Student loans

© Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(CD Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Subject to statute of limitations

Last 4 digits of account number 3128

Nonpriority Creditor's Name

PO Box 7090

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Number Street
Charlottesville VA 22906

O Contingent
© unliquidated

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

©) Debtor 1 and Debtor 2 only

(Atleast one of the debtors and another

O Check if this claim relates to a community
debt

Is the claim subject to offset?
No
0 Yes

Webbank/Fingerhut

Disputed

Type of NONPRIORITY unsecured claim:
QO)Student loans

0D Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

© Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Collection; Subject to statute of limitations

Last 4 digits of account number ****

Nonpriority Creditor's Name
6250 Ridgewood Rd

When was the debt incurred? 2021

As of the date you file, the claim is: Check all that apply.

Number Street
Saint Cloud MN 56303

O) Contingent
OD Unliquidated

City State ZIP Code
Who owes the debt? Check one.
Debtor 1 only

© Debtor 2 only

(CD Debtor 1 and Debtor 2 only

C Atleast one of the debtors and another

O Check if this claim relates to a community
debt

Is the claim subject to offset?
No
0 Yes

Official Form 106E/F

Disputed

Type of NONPRIORITY unsecured claim:

(Student loans

© Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

oO fee to pension or profit-sharing plans, and other similar

Other. Specify Charge account; Subject to statute of

limitations

Schedule E/F: Creditors Who Have Unsecured Claims

$ 1,271.00

$ 75.00

$ 80.00

\aF

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Case 22-12609

William Charles Bevan Jr.

Doc 19 Filed 06/14/22 Page 28 of 38

Debtor First Name Middle Name Last Name ase es OW) 22-12609
Last 4 digits of account number 0000
4.32 | wssc Water 9 $ 515.06
Nonpriority Creditors Name When was the debt incurred?
14501 Sweitzer Lane As of the date you file, the claim is: Check all that apply.
Number — Street O Contingent
Laurel MD 20707 O Unliquidated
City State ZIP Code 0 Disputed
Who owes the debt? Check one.
Debtor 1 only Type of NONPRIORITY unsecured claim:
(C Debtor 2 only O)Student loans
(© Debtor 1 and Debtor 2 only O Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
C) Atleast one of the debtors and another ©) Debts to pension or profit-sharing plans, and other similar
©) Check if this claim relates to a community debts
debt Other. Specify Utility Services
Is the claim subject to offset?
No
OO Yes
Last 4 digits of account number 0202
4.33 | Xerox Montgomery = . > $ 40.00
Nonpriorty Creditors Name When was the debt incurred?
4040 Blackburn Lane As of the date you file, the claim is: Check all that apply.
Number Street ©) Contingent
Burtonsville MD _ 20866 D unliquidated
City State ZIP Code Disputed
Who owes the debt? Check one.
Debtor 1 only Type of NONPRIORITY unsecured claim:
(€ Debtor 2 only (Student loans
( Debtor 1 and Debtor 2 only 0 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
C) Atleast one of the debtors and another C Debts to pension or profit-sharing plans, and other similar
0) Check if this claim relates to a community debts
debt Other. Specify Collection; Subject to statute of limitations
Is the claim subject to offset?
No
OO Yes
List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional

creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Ga the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

from Part 1

Total claim
Total claims 6a. Domestic support obligations 6a. $ 0.00

6b. Taxes and certain other debts you owe the 6b. $ 0.00
government
6c. Claims for death or personal injury while you were 6c. $ 0.00

intoxicated
6d. Other. Add all other priority unsecured claims. Write that 6d. $ 0.00

amount here.
6e. Total. Add lines 6a through 6d. 6e.

$ 0.00

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Q

page 12 of 13

Case 22-12609 Doci19 Filed 06/14/22 Page 29 of 38

William Charles Bevan Jr. i
Debtor First Name Middle Name Last Name Case number(it Known) 22-12609

Total claim

Total claims 6f. Student loans 6f. $ 0.00
from Part 2

6g. Obligations arising out of a separation agreement or

6g. $ 0.00
divorce that you did not report as priority claims
6h. Debts to pension or profit-sharing plans, and other 6h. $ 0.00
similar debts
6i. Other. Add all other nonpriority unsecured claims. Write that 6i. $ 49,609.42
amount here.
6j. Total. Add lines 6f through 6i. 6j.
$ 49,609.42 _

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 13 of 13

Case 22-12609 Doci9 Filed 06/14/22 Page 30 of 38

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William Charles Bevan Jr.

Debtor 1

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Maryland

Case number 55 19699 O Check if this is
(if know) an amended
filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On
the top of any additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
© No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.

Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for
(for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory
contracts and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2a Residential Rental Lessee
Potomac Gardens ALC
Name
11719 Devilwood Dr.
Street
Potomac MD 20854

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of 1

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William Charles Bevan Jr.

Debtor 1

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Maryland

Case number 55 19699 O Check if this is
(if know) an amended
filing

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two
married people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the
Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any
Additional Pages, write your name and case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
No
0 Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No. Go to line 3.
© Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule EI/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:

Wis

Official Form 106H Schedule H: Your Codebtors page 1 of 1

Case 22-12609 Doci19 Filed 06/14/22 Page 32 of 38

UMM Melt Celam Come (tal CLV Vol tl mor. -t-m

William Charles Bevan Jr.

Debtor 1

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: _ District of Maryland

Case number 22-12609 . Check if this is:

(If known)

An amended filing
A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 i boa
Schedule I: Your Income 42/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

FERRE Describe Employment

1. Fillin your employment a
information. . Debtor 1 ee ee Debtor 2 or non-filing spouse

If you have more than one job,

attach a separate page with
information about additional Employment status Q) Employed C] Employed

employers. [V/]Not employed C1 Not employed

Include part-time, seasonal, or
self-employed work.

Occupation
Occupation may include student :

or homemaker, if it applies.
Employer’s name

Employer’s address

Number Street Number Street

City State ZIP Code City State ZIP Code

How long employed there?

tee cve Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). If not paid monthly, calculate what the monthly wage would be. 2. 5 0.00 $
3. Estimate and list monthly overtime pay. 3. +3 0.00 +
4. Calculate gross income. Add line 2 + line 3. 4. $ 0.00 $.

Official Form 1061 Schedule I: Your Income mR

Case 22-12609 Doci19 Filed 06/14/22 Page 33 of 38

William Charles Bevan Jr.

First Name Middle Name Last Name

Debtor 1

Copy lime 4 Were... cescssesscsecsscensessesceseseesseesceesceceseeeeeseeessessesaserseeeeeseses
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
5d. Required repayments of retirement fund loans
5e. Insurance

5f. Domestic support obligations

5g. Union dues
5h. Other deductions. Specify:

_N ®

. Calculate total monthly take-home pay. Subtract line 6 from line 4.

8. List all other income regularly received:

8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income.

8b. Interest and dividends

Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.

8c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

8d. Unemployment compensation
8e. Social Security

8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify:

8g. Pension or retirement income

8h. Other monthly income. Specify:

©

Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.

10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

11.

Case number (if known), 22-12609

For Debtor 1 For Debtor 2 or
. eee _non-filing spouse _
34 3 0.00 $

5a. § 0.00 $
5b. 0.00 $
5c. § 0.00 $
5d. $ 0.00 $
be. $ 0.00 $
5.  § 0.00 $
5g. 8 0.00 $
5h. +$§ 0.00, +¢

$ $

$ $

S$ $
6 6§ 0.00 $
7 § 0.00 $

0.00
8a. $Y $
8b. g _0.00_ $
0.00

8c. $ $
gd. s____0.00__
Be. §_2,935.00_
sf, $____0-00_ $
8g. § 0.00 $
8h. +5 0.00 +35
9. | § 2,535.00 $
io ¢_2,535.00 |+| 5 ls 2,535.00

State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

12.

13. Do you expect an increase or decrease within the year after you file this form?

No.
Q) Yes. Explain:

Official Form 1061 Schedule |: Your Income

11.4 §$ 0.00

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

12.

5 2,535.00

Combined
monthly income

page 2

Lag

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UR Mur Colim ome (Tal Amel mor: t-H

William Charles Bevan Jr.

Debtor 1 . .
First Name Middle Name Last Name Check if this is:

Debtor 2 Can amended filing

(Spouse, if filing) First Name Middle Name Last Name
A supplement showing postpetition chapter 13
expenses as of the following date:

United States Bankruptcy Court for the: District of Maryland
22-12609

iene MM / DD/ YYYY

(State)

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

ra Describe Your Household

1. Is this a joint case?

V1 No. Go to line 2.

CL) Yes. Does Debtor 2 live ina separate household?

Co

[les. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? Y
y P M1no Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and L) Yes. Fill out this information for | Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent.............cceeeeee sere ; . " —
LIN
Do not state the dependents’ eyo
names. Ea Yes
_—INo
|_jYes
L_INo
|_jYes
_—INo
|_jYes
_—INo
| jYes
3. Do your expenses include No

expenses of people other than QO
yourself and your dependents? Yes

re Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule /: Your Income (Official Form 106l.) Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and 1.743.00
any rent for the ground or lot. 4. $
If not included in line 4:

0.00
4a. Real estate taxes 4a. $
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 25.00
4d. Homeowner's association or condominium dues 4d. $. 100.00
Official Form 106J Schedule J: Your Expenses page 1

WLS

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William Charles Bevan Jr.

Debtor 1

16.

20.

First Name Middle Name Last Name

. Additional mortgage payments for your residence, such as home equity loans

Utilities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c. Other. Specify:

17d. Other. Specify:

Case number (if known)

22-12609

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your Income (Official Form 106).

Other payments you make to support others who do not live with you.
Specify:

Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

15b.

15c.

20b.

20c.

20d.

20e.

PA FF FH FH FH FHF HF

Your expenses

0.00

25.00

15.00

60.00

0.00

300.00

0.00

25.00

25.00

310.00

100.00

0.00

0.00

0.00

40.00

0.00

AFA Ff HF

0.00

0.00

0.00

0.00

0.00

Pr FH FH HF

0.00

0.00

0.00

PF Ff Ff Ff Ff

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William Charles Bevan Jr.

Debtor 1 Case number (if known),

First Name Middle Name Last Name

21. Other. Specify;_Rent

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a

and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

U1 No.
Yes. Explain here: Expects to no longer pay rent ($1,000)

Official Form 106J Schedule J: Your Expenses

22-12609
a 4 1,000.00
+$
+$
22a. § 3,768.00
22b. $
22c. $ 3,768.00
$ 2,535.00
23a.
23b. ¢ 3,768.00
$ 1,233.00
23c.
=
page

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MUM Mn coleuirel elem Como (-Til (iam Coll] mor: [=m

Debtor 1 William Charles Bevan Jr.

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the District of Maryland

Case number 22-12609

(If known)

Q) Check if this is an

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

en | Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

MI No

UL) Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and

Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and

X /s/ William Charles Bevan Jr. x
Signature of Debtor 1 Signature of Debtor 2
Date 06/14/2022 nae
MM/ DD / YYYY MM/ DD / YYYY
Official Form 106Dec Declaration About an Individual Debtor’s Schedules SH

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MARYLAND

In re:

WILLIAM CHARLES BEVAN JR. Case No. 22-12609
(Chapter 13)

Debtor

AFFIDAVIT OF WILLIAM CHARLES BEVAN JR.

l. My name is William Charles Bevan Jr., and | am over the age of 18 years

and otherwise competent to testify. I have personal knowledge of the facts herein.

2. I am the owner of real property located at 11229 Empire Lane, Rockville,
Maryland 20852.
3. After review of all available sources to confirm my opinion of valuation of

the property as owner, I have concluded the property to be worth $930,000 as a fair market
value. Included in this source of information is a Redfin estimate value of $795,000.00 and a
Zillow estimate value of $795,000.00.

4, I have consulted with my real property professional, Ross Levin, who has
provided me his opinion regarding value, which I find differs significantly from my own.

I DO SOLEMNLY DECLARE AND AFFIRM UNDER THE PENALTY OF PERJURY THAT
THE FOREGOING IS TRUE AND CORRECT.

Further, the Affiant sayeth not. (DL cfLeCBevch)

Date: June 14, 2022 /s/ William Charles Bevan Jr ;
William Charles Bevan Jr.

